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             UNITED STATES DISTRICT COURT***SOUTHERN DISTRICT OF United   TEXAS States District Court
                                                                           Southern District of Texas
                                    HOUSTON DIVISION
                                                                                       ENTERED
Southwest Key Programs, Inc.,                      §                                December 05, 2018
          Plaintiff,                               §                                David J. Bradley, Clerk
                                                   §
vs.                                                §         Civil Action H-18-3289
                                                   §
                                                   §
City of Houston,                                   §
              Defendant.                           §

                                    RULE 16 SCHEDULING ORDER

The following schedule shall be followed.   All communications concerning the case shall be
directed in writing to Ellen Alexander, Case Manager for United States District Judge David
Hittner, P.O. Box 61010, Houston, TX 77208.

1. February 1, 2019                 NEW PARTIES shall be joined, with leave of court, by this date.
                                    The attorney causing such joinder shall provide copies of this
                                    ORDER to the new parties.

2A.March 1, 2019                    PLAINTIFF shall designate EXPERT WITNESSES. Designation shall
                                    be in writing to opponent.     Expert reports shall be served
                                    within 60 days of the designation.

 B.April 5, 2019                    DEFENDANT shall designate EXPERT WITNESSES. Designation shall
                                    be in writing to opponent.     Expert reports shall be served
                                    within 60 days of the designation.

3. February 1, 2019                 AMENDMENTS to pleadings, with leave of court, shall be made by
                                    this date.

4. July 1, 2019                     DISCOVERY shall be completed by this date.

5. August 5, 2019                   MOTION CUT-OFF. No motion, including motions to exclude or
                                    limit expert testimony under Fed. R. Evid. 702, shall be filed
                                    after this date except for good cause shown. See LR 7.

6. October 31, 2019                 The JOINT PRETRIAL ORDER shall be filed on or before this date
                                    notwithstanding that a motion for continuance may be pending.
                                    Parties shall exchange all trial exhibits on or before this date
                                    notwithstanding that a motion for continuance may be pending.
                                    NO LATE EXCHANGES OF EXHIBITS WILL BE PERMITTED. All motions in
                                    limine shall be submitted with the pretrial order. Failure to
                                    file timely a joint pretrial order, motions in limine, or
                                    exchange all trial exhibits may result in this case being
                                    dismissed or other sanctions imposed, in accordance with all
                                    applicable rules.

7.     November/December 2019       TRIAL TERM.   Cases will be set for trial at a docket call,
                                    conducted prior to the trial term or by order of the Court.
                                    Your position on the docket will be announced at that time.

      Jury/Non-Jury ETT:   4 days


All documents filed must be 14 point font, double spaced with not less than one inch margins.



SIGNED on December 5, 2018.



                                                               PETER BRAY
                                                       United States Magistrate Judge
